            Case 3:14-cv-00696-MO        Document 2      Filed 04/28/14     Page 1 of 2




Robert C. Weaver, Jr., Bar #801350
E-Mail: rweaver@gsblaw.com
Paul H. Trinchero, Bar #014397
E-Mail: ptrinchero@gsblaw.com
Garvey Schubert Barer
Eleventh Floor
121 S.W. Morrison Street
Portland, Oregon 97204-3141
Telephone: (503) 228-3939
Facsimile: (503) 226-0259

       Attorneys for Plaintiff




                                UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION




NIKE, INC., an Oregon corporation,
                                                                Case No. - - - - - - - -
                   Plaintiff,
                                                                   PLAINTIFF NIKE, INC. 'S
       v.                                                        CORPORATE DISCLOSURE
                                                                            STATEMENT
TUNG WING HO, KYLE KEOKI
YAMAGUCHI, DENISE WEI-CHING YEE,
SHU-CHU YAMAGUCHI, and JASON M.
KEATING

                   Defendants.


       Pursuant to Fed. R. Civ. P. 7.1 and LR 7.1-1, plaintiff Nike, Inc., an Oregon corporation,

certifies that it has no parent company and that there is no publicly held corporation that owns

10% or more of Nike, Inc.'s stock.




                   PLAINTIFF NIKE, INC.'S CORPORATE DISCLOSURE STATEMENT
                                                                    Page 1
           Case 3:14-cv-00696-MO   Document 2     Filed 04/28/14     Page 2 of 2




        DATED: April 28, 2014

                                          GARVEY SCHUBERT BARER


                                          By~~.._-
                                                ~er,               Jr., Bar# 801350
                                                Telephone: (503) 228-3939
                                                Fax: (503) 226-0259
                                                E-Mail: rweaver@gsblaw.com
                                                Paul H. Trinchero, Bar# 014397

                                                Attorneys for Plaintiff




PDX_DOCS:516586.l




                    PLAINTIFF NIKE, INC. 'S CORPORATE DISCLOSURE STATEMENT
                                                                      Page2
